   Case 3:21-cr-00236-E Document 39 Filed 02/02/22          Page 1 of 3 PageID 126



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

  UNITED STATES OF AMERICA,                     §
                                                §
                                                §
  V.                                            §     CRIM. NO. 3:21-CR-00236-E (02)
                                                §
                                                §
  JOSEPH EVENTINO DELEON.                       §

         UNOPPOSED MOTION TO AMEND CONDITIONS OF RELEASE

TO THE HONORABLE ADA BROWN
UNITED STATES DISTRICT JUDGE
NORTHERN DISTRICT OF TEXAS

        COMES NOW, Joseph Eventino DeLeon, Defendant in the above styled case, and
this this UNOPPOSED MOTION TO AMEND CONDITIONS OF RELEASE and would
show this Court as follows:
                                      I.

       On December 29, 2021, Defendant appeared before United States Magistrate

Judge Rutherford and received his conditions of release (Doc. 34). Defendant is 62 years

old. At the time of the initial appearance and arraignment, neither undersigned

counsel, nor Defendant, noticed that one of the conditions was that Defendant

“continue or actively seek employment.” See Cond. (7)(b). This is a condition we see the

most cases, however, in this case, Defendant is not only retired, but disabled and cannot

work. Undersigned counsel has shared with the government Defendant’s medical

records substantiating his disability. His medical condition was also discussed in the




                                            1
   Case 3:21-cr-00236-E Document 39 Filed 02/02/22           Page 2 of 3 PageID 127



pretrial services report. After reviewing the records, the government stated that it has

no objection to this motion.

      WHEREFORE, PREMISES CONSIDERED, Defendant prays that his conditions of

release will be amended to delete condition (7)(b), that he “continue or actively seek

employment.”



                                             Respectfully submitted,

                                                Westfall Sellers

                                                By:    /s/ Greg Westfall
                                                       Texas Bar No. 00788646

                                                1701 River Run, Suite 801
                                                Fort Worth, Texas 76107
                                                P: 817.928.4222
                                                F: 817.385.6715
                                                E: greg@westfallsellers.com
                                                Attorney for Joseph De Leon



                          CERTIFICATE OF CONFERENCE

   On the 24th day of January, 2022, undersigned counsel conferred with AUSA
Marcus Busch about the substance of this motion. The government does not
object to this Court granting this motion.

                                            s/Greg Westfall
                                            _________________________________
                                            Greg Westfall
                               CERTIFICATE OF SERVICE




                                            2
  Case 3:21-cr-00236-E Document 39 Filed 02/02/22    Page 3 of 3 PageID 128



   On this 2nd day of February, 2022, this motion was filed with the CM/ECF
system. As a result, the government was served with a copy of this motion.

                                           s/Greg Westfall
                                           _________________________________
                                           Greg Westfall




                                       3
